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                                 No. 23-10362

              IN THE UNITED STATES COURT OF APPEALS
                       FOR THE FIFTH CIRCUIT

  ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF
 PRO-LIFE OBSTETRICIANS & GYNECOLOGISTS; AMERICAN COLLEGE OF
PEDIATRICIANS; CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS; SHAUN
    JESTER, D.O.; REGINA FROST-CLARK, M.D.; TYLER JOHNSON, D.O.;
                          GEORGE DELGADO, M.D.,
                                               Plaintiffs-Appellees,
                                       v.
U.S. FOOD & DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner of
 Food and Drugs; JANET WOODCOCK, M.D., in her official capacity as Principal
      Deputy Commissioner, U.S. Food and Drug Administration; PATRIZIA
CAVAZZONI, M.D., in her official capacity as Director, Center for Drug Evaluation
      and Research, U.S. Food and Drug Administration; UNITED STATES
  DEPARTMENT OF HEALTH AND HUMAN SERVICES; XAVIER BECERRA,
          Secretary, U.S. Department of Health and Human Services,
                                               Defendants-Appellants,
                                       v.
                      DANCO LABORATORIES, L.L.C.,
                                               Intervenor-Appellant.
                On Appeal from the United States District Court
                      for the Northern District of Texas
 FEDERAL APPELLANTS’ OPPOSITION TO PLAINTIFFS’ MOTION TO
                 EXTEND LENGTH LIMITS

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      Federal Appellants respectfully oppose plaintiffs’ motion to extend

the length limit for their principal brief. There is substantial overlap

between the principal briefs filed by Federal Appellants and Intervenor

Appellant; plaintiffs do not contend otherwise. An extension is thus

unnecessary for plaintiffs to be able to respond to all arguments raised

in those briefs, as plaintiffs have done within the word limit for their

previous filings in this Court and the Supreme Court. Given the

expedited briefing of this appeal, granting an extension to plaintiffs

may prejudice Federal Appellants’ ability to fully respond to plaintiffs’

arguments; the reply briefs in this case are due just four days after

plaintiffs’ principal brief.

      In the alternative, if this Court grants plaintiffs’ motion, Federal

Appellants request an extension of the length limit applicable to their

reply brief, equal to any extension granted to plaintiffs.




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                                     Respectfully submitted,

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                                      /s/ Cynthia A. Barmore
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MAY 2023




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                       CERTIFICATE OF SERVICE

     I hereby certify that, on May 1, 2023, I electronically filed the

foregoing opposition with the Clerk of the Court by using the appellate

CM/ECF system. I further certify that the participants in the case are

CM/ECF users and that service will be accomplished by using the

appellate CM/ECF system.

                                          /s/ Cynthia A. Barmore
                                          Cynthia A. Barmore
                                          Counsel for Appellants
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                 CERTIFICATE OF COMPLIANCE

     I hereby certify that this opposition complies with the

requirements of Federal Rule of Appellate Procedure 27(d) because it

has been prepared in 14-point Century Schoolbook, a proportionally

spaced font. I further certify that this opposition complies with the

type-volume limitation of Federal Rule of Appellate Procedure 27(d)(2)

because it contains 141 words according to the count of Microsoft Word.

                                   /s/ Cynthia A. Barmore
                                   Cynthia A. Barmore
                                   Counsel for Appellants
